432 F.2d 106
    UNITED STATES of America, Plaintiff-Appellee,v.Francis Phillip SILLS, Defendant-Appellant.
    No. 29853 Summary Calendar.*
    United States Court of Appeals, Fifth Circuit.
    October 5, 1970.
    
      Appeal from United States District Court, Southern District of Florida; Charles B. Fulton, Chief Judge.
      Samuel E. Smith, Miami, Fla., for defendant-appellant.
      Robert W. Rust, U. S. Atty., Neal R. Sonnett, Asst. U. S. Atty., Miami, Fla., for plaintiff-appellee.
      Before BELL, AINSWORTH and GODBOLD, Circuit Judges.
      PER CURIAM:
    
    Affirmed. See Local Rule 21.1
    
      
        Notes:
      
      
        *
         Rule 18, 5 Cir.;see Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431 F.2d 409, Part I.
      
      
        1
         See NLRB v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966
      
    
    